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UNITED STATES DISTRICT COURT

FOR THE
DISTRICT OF VERMONT

ROBERT SMITH, ) CIVIL ACTION ww A f jJ-cv-7 B

Plaintiff, )

) COMPLAINT

Vv. )

)
JAMES MORSE, ) 3S
In his official capacity as ) aa
Commissioner of the Vermont ) > 5 =
Department For Children and ) POs
Families, ) Go <S
Defendant. ) BS
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I. Introduction
1. This is an action for declaratory and injunctive relief pursuant to 42 U.S.C. § 1983, the
Fourteenth Amendment of the United States Constitution, and the Supremacy Clause, Article
VI of the United States Constitution. Plaintiff seeks to enjoin Defendant from denying
Plaintiff Medicaid eligibility based on policies and practices that violate federal law.

2. I. Parties

2. Plaintiff Robert A. Smith is an 83 year old man who resides at the Cedar Hill Health Care

Center (Cedar Hill) in Windsor, Vermont.

3. Defendant James Morse is the Commissioner of the Vermont Department for Children and

Families. He has supervisory and oversight responsibility for all aspects of the Vermont

Medicaid program.
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If. Jurisdiction

Jurisdiction to decide this case is conveyed on the United States District Court by 28 U.S.C.
§1331.
Plaintiff’ right to relief is authorized by 42 U.S.C. § 1983, the Fourteenth Amendment to the
United States Constitution, and the Supremacy Clause, Article VI of the United States
Constitution.
Declaratory and injunctive relief is authorized by 28 U.S.C. §§2201 and 2202 and Rules 57
and 65 of the Federal Rules of Civil Procedure.

IV. Factual Allegations
Plaintiff was admitted to Cedar Hill in August of 2004. He requires 24-hour care for a
variety of medical conditions.
On November 12, 2004, Plaintiff moved $252,347.44 from his revocable trust into his
checking account at Merchants Bank.
On November 19, 2004, Plaintiff made three loans of $81,800.00 each to his three sons,
Mitchel R. Smith, William Smith, and Vincent Smith.
In exchange for the borrowed funds, each of Plaintiffs sons gave Plaintiff a promissory note
wherein the borrower promised to pay Plaintiff $136.00 per month, beginning January 1,
2005, and continuing until December 1, 2007, when the entire outstanding amount of the loan
would be due and payable to Plaintiff.
Each borrower gave Plaintiff a mortgage on the borrower’s home to secure their debt to
Plaintiff.

Each borrower possesses sufficient equity in the property to adequately secure their promises

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to repay under standards of commercial reasonableness.

All of the funds Plaintiff loaned to his sons came from his personal checking account, and he
alone may receive payments on these loans during his lifetime. On his death any remaining
payments must be paid to his trust.

On January 5, 2005, Plaintiff applied for Long-Term Care Medicaid, seeking benefits payable
retroactive to December 1, 2004.

Plaintiff submitted records of all of his bank accounts, including accounts held by his
revocable trust to the Department for Children and Families (DCF) with his application for
Medicaid.

Plaintiff fully disclosed the existence of the loan to his sons, and he submitted copies of the
promissory notes, mortgages, and financial documentation to show the loans were bona fide.
Vermont Medicaid regulations require determination of eligibility within 30 days of
submission of the Medicaid application.

On January 6, 2005, Cedar Hill sent Plaintiff a letter notifying him that he would be
discharged in 30 days for non-payment his bill for services.

Plaintiff appealed the notice, and the Vermont Department of Licensing and protection
intervened because Plaintiff could not be discharged while he had a Medicaid application
pending with DCF. Cedar Hill withdrew its discharge notice.

On February 22, 2005, the Springfield District Office of DCF denied Plaintiffs application
for Medicaid. The denial stated: ‘“‘The action that constituted the transfer [of resources for

less than fair market value] was the establishment of a revocable trust.”

. Vermont Medicaid regulations prohibit the assessment of a transfer penalty where the transfer
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is the establishment of a revocable trust.

Plaintiff's counsel requested that DCF reconsider its denial because of the obvious conflict
between the denial and Vermont Medicaid regulations.

DCF issued a new denial on February 24, 2005. This notice assessed a transfer penalty for
payments from Plaintiff's revocable trust to “people other than” Plaintiff.

Under Vermont Medicaid policy payments from a revocable trust to the grantor of the trust

cannot be treated as transfers for less than fair market value.

. Plaintiff again requested DCF reconsider its denial notice. DCF declined to do so.

The payments referenced in the “Revised Notice of Decision” are the loans from Plaintiff to
his sons.

Despite being provided with bank statements showing that the only payments from Plaintiff's
revocable trust were to Plaintiff, and in spite of bank statements showing that funds lent to
his sons were paid from Plaintiffs personal checking account, DCF contends that its denial is
correct.

On March 9, 2005, Cedar Hill commenced suit against Plaintiff for $22,666.20 in past due
charges.

Although Cedar Hill could not discharge Plaintiff while his Medicaid application was
pending, under the regulations promulgated by the Vermont Department of Aging and
Independent Living, Plaintiff can now be discharged on 30 days’ notice.

Plaintiff requested a fair hearing on the denial of his application. His hearing before the
Human Services Board Hearing Officer is set for April 14, 2005.

FIRST CAUSE OF ACTION
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Under section 1634 of the Social Security Act, 42 U.S.C. § 1383c(a), states which elect to
have the Commissioner of Social Security determine Medicaid eligibility for recipients of
Supplemental Security Income (SSI) within the state must agree to use a methodolo gy for
determining Medicaid eligibility for the “medically needy” which is no more restrictive than
the methodology to determine eligibility for SSI.

Pursuant to 42 U.S.C. §1396a(a)(10)(C), once a state has entered into an agreement under
section 1634 with the Commissioner of Social Security, the state must use a methodology for
determining Medicaid eligibility for its “medically needy” population which is no more
restrictive than the methodology used to determine eligibility for SSI.

42 U.S.C. §1396a(r)(2) requires that the methodology employed by the state to determine
Medicaid eligibility for its medically needy population cannot deny Medicaid to any
individual who would be eligible for Medicaid under SSI’s methodology for determining
eligibility.

Vermont has elected to have the Commissioner of Social Security determine eligibility for
Vermonters receiving SSI.

Because Vermont has entered into a section 1634 agreement with the Commissioner of
Social Security, 42 U.S.C. §1396a(a)(10)(C) and 42 U.S.C. §1396a(r)(2) create an individual
right in the Plaintiff to have his eligibility for Vermont Medicaid determined using a
methodology which is no more restrictive than the methodology used to determine eligibility
for SSL

The loans from Plaintiff to his sons are fair market value transfers under SSI rules.

Defendant has an unwritten, unpromulgated policy of treating all loans by applicants for
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Medicaid, regardless of the terms of the loan or the security received by the lender, as
“transfers for less than fair market value” in order to assess a period of ineligibility for
Medicaid against the lender.
Defendant’s denial notices are a pretext to hide the fact that Plaintiff's application was denied
because of Defendant’s unwritten, unpromulgated policy regarding the treatment of loans by
applicants for Medicaid.
Defendant’s unwritten, unpromulgated policy deprives Plaintiff of his right under the Social
Security Act to receive a determination of eligibility no more restrictive than SST.
Plaintiff is entitled to relief for such violation of his rights by 42 U.S.C. § 1983 and under the
Supremacy Clause of Article VI of the United States Constitution.

SECOND CAUSE OF ACTION
By denying Plaintiff eligibility for Medicaid based on its unwritten, unpromulgated policies,
in violation of the Social Security Act, 42 U.S.C. §1396a(a)(10)(C) and 42 U.S.C.
§1396a(r)(2), Defendant has deprived Plaintiff of his right to Medicaid without due process
of law, in violation of the Fourteenth Amendment to the United States Constitution.
Plaintiff is entitled to relief for such violation under 42 U.S.C. § 1983.

THIRD CAUSE OF ACTION

The Social Security Act delegates to the United States Secretary of Health and Human
Services (HHS) the authority to establish policies and regulations to carry out the purposes of
the Act.
The Secretary of HHS, through the Centers for Medicare and Medicaid Services (CMS), has

created regulations and policies which prohibit Defendant from using a methodology for
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determining eligibility for Medicaid that is more restrictive than the methodology for
determining eligibility for SSI.
Defendant’s unwritten, unpromulgated policy which treats all loans as transfers for less than
fair market value violates HHS regulations and CMS rules.
Plaintiff are entitled to relief for such violation under 42 U.S.C. § 1983 and the Supremacy
Clause of Article VI of the United States Constitution.

FOURTH CAUSE OF ACTION
Plaintiff is a client of Tapper Law Offices.
Defendant has unwritten, unpromulgated policy of applying different eligibility criteria to
clients of Tapper Law Offices which contravene Defendant’s Medicaid regulations and SSI
tules, specifically a rule which treats all loans as transfers for less than fair market value.
Such unwritten, unpromulgated policies are retaliation for advocacy by Tapper Law Offices
against Defendant in a variety of forums on behalf of applicants for Medicaid or recipients of
Medicaid.
Plaintiff's application for benefits was denied because of Defendant’s application of the
unique eligibility criteria he applies to clients of Tapper Law Offices. Because of such policy
toward clients of Tapper Law Offices, the loans from Plaintiff to his sons were treated as
transfers for less than fair market value.
The application of Defendant’s unwritten, unpromulgated policy of applying unique
eligibility criteria to clients of Tapper Law Offices creates a methodology for determining
Plaintiffs eligibility for Medicaid that is more restrictive than SSI criteria.

Plaintiff is entitled to relief for such violation under 42 U.S.C. § 1983 and the Supremacy
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Clause of Article VI of the United States Constitution.

FIFTH CAUSE OF ACTION
The Vermont Administrative Procedures Act requires that all regulations promulgated by a
state agency follow a specific process including publication and opportunity for public
comment.
Defendant has failed to complete any of the steps required by the Vermont Administrative
Procedures Act with regard to its policy of treating all loans, or in the alternative, all loans
made by clients of Tapper Law Offices, as transfers for less than fair market value.
Such failure to promulgate policies according to the requirements of the Vermont
Administrative Procedures Act deprives Plaintiff of notice and opportunity to be heard
regarding such policies.
Defendant’s failure to properly promulgate its substantive policy of treating all loans, or in
the alternative, all loans made by clients of Tapper Law Offices, as transfers for less than fair
market value, deprives Plaintiff of his right to Medicaid without due process of law in
violation of the Fourteenth Amendment to the United States Constitution.
Plaintiff is entitled to relief for such violation under 42 U.S.C. § 1983.

SIXTH CAUSE OF ACTION
42 U.S.C. §1396p(c)(4) prohibits States, even those without 1634 agreements, from assessing
periods of ineligibility against applicants for Long-Term Care Medicaid, except in
accordance with the criteria set out in 42 U.S.C. §1396p(c).
42 U.S.C. §1396p(c)(4) creates an individual right in Plaintiff to have their transfers of

resources for fair market value, as defined in the Social Security Act, federal regulations and
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rules, evaluated according to the restrictions in 42 U.S.C. §1396p(c).
Defendant’ policy of assessing periods of ineligibility against applicants who have transferred
resources for fair market value violates the express provisions of 42 U.S.C. §1396p(c).
Plaintiff are entitled to relief for such violation under 42 U.S.C. § 1983 and the Supremacy
Clause of Article VI of the United States Constitution.
Irreparable Harm
By applying unwritten, unpromulgated polices in order to deny Plaintiff's application for
Medicaid, Defendant has caused, and is continuing to cause Plaintiff emotional distress and
anxiety over how he will pay his outstanding bill to the nursing home and whether he will be
discharged from the nursing home.
Without an order of this Court Plaintiff will be discharged from Cedar Hill. Such discharge
will put his health and safety at risk, since Plaintiff does not have the resources to receive
comparable care in the community.
The change in routine and care Plaintiff will receive in the community after a discharge from
Cedar Hill will cause him severe emotional distress.
The ongoing deprivation of Plaintiff's right to due process of law constitutes irreparable
harm.
WHEREFORE, Plaintiff prays this Court:
1. Declare that Defendant’s policy of treating all loans as transfers for less than fair
market value creates a methodology for determining eligibility which is more
restrictive than SSI.

2. Declare that Defendant’s policy of treating all loans made by clients of Tapper
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Law Offices as transfers for less than fair market value creates a methodology for
determining eligibility which is more restrictive than SSI.

. Declare that by creating methodologies for determining eligibility for Medicaid
which are more restrictive than the methodologies used to determine eligibility
for SSI Defendant has deprived Plaintiff of his rights under the Social Security
Act, the Fourteenth Amendment, and the Supremacy Clause, Article VI, of the
United States Constitution.

. Declare that the Defendant’s policy of treating loans, or loans made by clients of
Tapper Law Offices, as transfers for less than fair market value, without
promulgating such policies according to the strictures of the Vermont
Administrative Procedures Act, denies Plaintiff notice and opportunity to be
heard regarding such policies, in derogation of Plaintiff's right to due process

under the Fourteenth Amendment to the United States Constitution.

. Declare that Plaintiffs loans to his sons are fair market value transfers under SSI

rules.

. Enjoin Defendant from the application of his unwritten, unpromulgated policies
which treat all loans as transfers for less then fair market value in determining
Plaintiff's eligibility for Medicaid.

Enjoin Defendant from the application of his unwritten, unpromulgated policy of
treating all loans made by clients of Tapper Law Offices as transfers for less than
fair market value in determining Plaintiff's eligibility for Medicaid.

Award Plaintiff their reasonable attorneys’ fees and costs;

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9. Grant such other relief as justice and equity may require.

Dated at Springfield, Vermont this 28th day of March, 2005.

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Mark Yj. Tapper, Esq.
Tappey Law Offices

55 Clinton Street
Springfield, Vermont 05156
(802) 885-9666

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